Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 1 of 13




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

     IN RE: ZANTAC (RANITIDINE)               MDL NO. 2924
     PRODUCTS LIABILITY                       20-MD-2924
     LITIGATION
                                              JUDGE ROBIN L. ROSENBERG
                                              MAGISTRATE JUDGE BRUCE E. REINHART
     _______________________________/

    THIS DOCUMENT RELATES TO:

     Nathan Gibbons v. GlaxoSmithKline, et al.             9:21-cv-80236-RLR


                REPLY IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND

         Plaintiff Nathan Gibbons, by and through the undersigned counsel, submit this Reply
    Memorandum in Support of Plaintiff’s Motion to Remand pursuant to 28 U.S.C. § 1447(c). This
    Reply is filed with leave of Court pursuant to the Court’s February 2, 2021 Order (Doc. 2732)
    and pursuant to Local Rule 7.1(c)(1).
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 2 of 13



                                                       TABLE OF CONTENTS
                                                                                                                                            Page

    TABLE OF CONTENTS ................................................................................................................. i
    ARGUMENT .................................................................................................................................. 1
          I.     The Drug Company Defendants Failed to Prove that a Negligence Claim Against the
                 California Retailers Is Impossible .................................................................................... 1
                 A. The California Retailer Are Being Sued for Negligently Contributing to the
                    Creation of a Product Defect by Exposing the Ranitidine Products They Sold to
                    Heat Despite the Product Label’s Clear Warning to Avoid Heat ............................. 1
                 B. Plaintiff’s Negligence Claim Is Sufficiently Alleged under California Pleading
                    Standards ................................................................................................................... 3
                 C. Severing Plaintiff’s Claims Against the Drug Company Defendants from the
                    Claims Against the California Retailers Would Be a Mistake .................................. 6
          II. The Drug Company Defendants Failed to Prove that a Strict Liability Claim Against the
              California Retailers Is Impossible .................................................................................... 8
    CONCLUSION ............................................................................................................................... 9




                                                                          i
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 3 of 13



                                                    ARGUMENT
            The Drug Company Defendants1 have not met their heavy burden of establishing

    fraudulent joinder because they have not proven—with clear and convincing evidence and all

    legal and factual uncertainties going against them—that any claim against the California

    Retailers2 is impossible. In their opposition brief, the Drug Company Defendants raise several

    arguments; however, none come close to meeting that burden.

    I.    The Drug Company Defendants Failed to Prove that a Negligence Claim Against the
          California Retailers Is Impossible

          A.     The California Retailer Are Being Sued for Negligently Contributing to the
                 Creation of a Product Defect by Exposing the Ranitidine Products They Sold to
                 Heat Despite the Product Label’s Clear Warning to Avoid Heat
          The Drug Company Defendants insist that California law imposes no duty on any retailer

    to discover or test for latent defects. See Opp. at 4-5. It is unclear if that legal proposition is true

    considering how the law against retailers in California has evolved over the last 80 years in the

    realm of product liability. See, e.g., Kaminski v. W. MacArthur Co., 220 Cal. Rptr. 895, 901 (Ct.

    App. 1985) (“In products liability cases, a consumer injured by a defective product may sue any

    business entity in the chain of production and marketing, from the original manufacturer down

    through the distributor and wholesaler to the retailer; liability of all such defendants is joint and

    several.”). That said, this Court need not address this issue because the California Retailers are

    not being sued under a failure-to-test theory—indeed, that theory is expressly disavowed:

            [The California Retailers] breached their duty to Plaintiff by failing to properly
            store the Ranitidine-Containing Drugs supplied to Plaintiff, leading to dangerous
            levels of NDMA accumulating in the drugs that harmed Plaintiff.

            …

            Plaintiff is not alleging that the Retailer Defendants breached their duty of care
            by failing to test the defective Ranitidine-Containing Drugs that were sold to
            Plaintiff. Rather the Retailer Defendants breached their duty of care by failing to

    1
      “Drug Company Defendants” collectively refers to Defendants GlaxoSmithKline, LLC, Boehringer Ingelheim
    Pharmaceuticals, Inc., Boehringer Ingelheim USA Corp., Sanofi US Services Inc., and Sanofi-Aventis U.S. LLC.
    2
      “California Retailers” collectively refers to Defendants Safeway, Inc., Safeway Health, Inc., The Vons Companies,
    Inc., Kaiser Permanente International, and Grocery Outlet.

                                                             1
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 4 of 13




           properly transport, store, and/or shelve the defective Ranitidine-Containing Drugs
           that caused Plaintiff's injuries. Had the Defendants properly stored, transported,
           and shelved their Ranitidine-Containing Drugs, they would have not breached
           their duty to the Plaintiff.”).
    Complaint, ¶¶ 317, 320 (emphasis added). And, because the California Retailers “failed to

    adhere to and/or follow its established practices and procedures in storing the Ranitidine-

    Containing Drugs[,] … [a]s a direct and proximate result of Defendants’ improper storage

    practices of the Ranitidine-Containing Drugs, Plaintiff was exposed to dangerous levels of

    NDMA which caused Plaintiff’s cancer.” Complaint, ¶¶ 319, 321.

           The negligence claim against the California Retailers rests on their role in creating the
    NDMA defect, not a failure to test for it. And, California law clearly allows negligence claims

    against a retailer for negligently creating a defect in a product, generally and in the

    pharmaceutical drug context. See, e.g., Fagerquist v. W. Sun Aviation, Inc., 236 Cal. Rptr. 633,

    636 (Ct. App. 1987) (endorsing a negligence claim against a retailer for negligently maintaining

    the product—an airplane—which, in turn, caused injury); Ambriz v. CVS Pharmacy, Inc., No.

    119CV01391NONESKO, 2020 WL 1660018, at *4 (E.D. Cal. Apr. 3, 2020) (negligence

    sufficiently alleged against retailer because retailer incorrectly mixed prescription).

         The Drug Company Defendants argue that this type of negligence is “circular” because it

    “assumes the Retailer Defendants had a duty in the first instance to identify and guard against the

    risk of NDMA formation[.]” Opp. at 6. Not true. The duty imposed here is the one mandated

    by California statute: “Everyone is responsible, not only for the result of his or her willful acts,

    but also for an injury occasioned to another by his or her want of ordinary care or skill in the

    management of his or her property or person[.]” Cal. Civ. Code § 1714(a); Cabral v. Ralphs

    Grocery Co., 248 P.3d 1170, 1174 (Cal. 2011) (“The general rule in California is ... each person

    has a duty to use ordinary care and is liable for injuries caused by his failure to exercise

    reasonable care in the circumstances[.]”) (internal quotation marks omitted). Nothing excludes a

    California Retailer from complying with that duty. Hensley-Maclean v. Safeway, Inc., No. CV
    11-01230 RS, 2014 WL 1364906, at *3 (N.D. Cal. Apr. 7, 2014) (“Safeway has not pointed to


                                                      2
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 5 of 13




    any statutory provision limiting its general duty of care[.]”).

         The question is whether that general duty of ordinary care required a California Retailer to

    make sure the anitidine products it sold were not exposed to heat during transport and storage. If

    the need to avoid exposure to heat were unknown or unreasonably knowable, the Drug Company

    Defendants’ argument might find some purchase. But, it’s right on the label. Moreover, the

    Complaint alleges the opposite, i.e., that the California Retailers “were, or should have been,

    aware of the dangers of exposing Ranitidine-Containing Drugs to excess heat given that each

    Zantac box states, ‘to avoid excessive heat’ and to keep the drug below 77°F” and that they

    “were duty-bound to ensure their Ranitidine-Containing Drugs were not exposed to temperatures

    above 77°F.” Complaint, ¶ 316. The Drug Company Defendants do not even bother to argue

    against this alleged fact, that the warning to avoid heat exposure was on the package. And it

    would be absurd to conclude, as a matter of law, that a retailer had no duty to store and transport

    a product according to the product’s labeling—indeed, the Drug Company Defendants, who bear

    the burden of proof, cite no case supporting this irrational rule. And, in the removal context, this

    Court “must resolve any uncertainties about state substantive law in favor of the plaintiff.”

    Crowe v. Coleman, 113 F.3d 1536, 1538 (11th Cir. 1997) (emphasis added).

           The Drug Company Defendants attempt to cabin Plaintiff’s claim into one for failure to

    test for a latent defect is contradicted by the allegations in the Complaint. It does not render
    Plaintiff’s negligence claims against the California Retailers, as actually alleged, impossible.

    They have not carried their burden of establishing impossibility.

         B.    Plaintiff’s Negligence Claim Is Sufficiently Alleged under California Pleading
               Standards
          The Eleventh Circuit specifically holds that “[n]othing in our precedents concerning

    fraudulent joinder requires anything more than conclusory allegations … [t]o determine whether

    it is possible that a state court would find that the complaint states a cause of action, we must

    necessarily look to the pleading standards applicable in state court, not the plausibility pleading
    standards prevailing in federal court.” Stillwell v. Allstate Ins. Co., 663 F.3d 1329, 1334 (11th

                                                      3
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 6 of 13




    Cir. 2011) (emphasis added). Moreover, the California Supreme Court holds that “[i]n

    conformity with the rule that a complaint in a personal injury case is a ‘statement of the facts

    constituting the cause of action[] in ordinary and concise language’, plaintiffs may, and should,

    allege the foregoing facts succinctly, and may do so in a conclusory fashion if their knowledge

    of the precise cause of injury is limited.” Bockrath v. Aldrich Chem. Co., 980 P.2d 398, 404

    (Cal. 1999) (emphasis added) (quoting Cal. Code Civ. Pro., § 425.10). Thus, when the Drug

    Company Defendants concede that California pleading standards govern, see Opp. at 8, and that

    Plaintiff “generally avers … that the Retailer Defendants failed to store ranitidine ‘below 77°F’

    and that during ‘transport and storage of Ranitidine-Containing Drugs, temperatures routinely

    reached over 77°F,’” Opp. at 7-8 (quoting Complaint, ¶ 317), the inquiry should stop—there is

    no fraudulent joinder based on insufficient pleading.

         However, in their Opposition, the Drug Company Defendants ask this Court to impose a

    novel pleading requirement on Plaintiff, demanding to know “how he could possibly know the

    temperature inside the retailers’ facilities—let alone the storage and transport conditions for the

    particular boxes or bottles of ranitidine he allegedly purchased and ingested.” Opp. at 7. Absent

    disclosing the source of Plaintiff’s allegations, the Drug Company Defendants assert that “[t]hese

    allegations not only lack factual support but are utterly speculative.” Opp. at 7. But, this is not

    required under California law, either for pleading purposes or bringing a lawsuit. All a plaintiff
    must do to survive a demurer (the California version of a motion to dismiss) is allege that a

    defendant was negligent and that the negligence substantially contributed to the Plaintiff’s injury.

    See, e.g., Asker v. Wyeth Pharm., Inc., No. A112658, 2007 WL 61912, at *2 (Cal. Ct. App. Jan.

    10, 2007) (to plead negligence plaintiff was not required to allege how the product caused his

    cancer, merely that it did); Rannard v. Lockheed Aircraft Corp., 157 P.2d 1, 4 (Cal. 1945) (“[I]t

    is sufficient to allege that an act was negligently done by defendant and that it caused damage to

    plaintiff.”). Long ago, the California Supreme Court explained that “[t]he standard of pleading

    in negligence cases rests upon considerations of fairness and convenience … and the rule
    permitting the pleading of negligence in general terms finds justification in the fact that the

                                                      4
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 7 of 13




    person charged with negligence may ordinarily be assumed to possess at least equal, if not

    superior, knowledge of the affair to that possessed by the injured party.” Rannard, 157 P.2d at 5

    (emphasis added). And, “[w]hile the statement of other facts auxiliary to the main fact ‘the fact

    which caused the injury … might tend to provide a clearer conception of the principal act, it has

    been the settled rule in this state … that ‘negligence and proximate cause may be simply set

    forth.’” Id. at 4.

          Plaintiff, here, is not required to provide detailed allegations about the California Retailers

    Defendants’ negligence, including why a Plaintiff believes a fact to be true. California’s

    pleading standard centers on simply articulating ultimate facts. “Plaintiff need only plead such

    facts as are necessary ‘to acquaint a defendant with the nature, source and extent of his claims.’”

    Doe v. City of Los Angeles, 169 P.3d 559, 570 (Cal. 2007) (internal citations omitted).

    Moreover, “[i]n cases of negligence, the sufferer may only know the general, the immediate,

    cause of the injury, and may be entirely ignorant as to the specific acts or omissions which lead

    up to it.” Id. a 4. And, here, Plaintiff believes that NDMA in the ranitidine products he

    consumed substantially contributed to his development of prostate and colorectal cancer. It is

    entirely reasonable to believe that such NDMA was formed during transport and storage—a fact

    made evident by the FDA’s recent request that all ranitidine products be pulled off the market

    due to the formation and accumulation of NDMA in the finished product during transport and
    storage. Thus, for the purposes of pleading, Plaintiff need only allege the ultimate facts related

    to negligence, i.e., that the California retailers exposed the product to heat; anything else is for

    discovery and the merits. E.g., Mize v. Mentor Worldwide LLC, 265 Cal. Rptr. 3d 468, 478 (Ct.

    App. 2020) (“‘An injured patient,’ like Mize, thus ‘cannot gain access to that information

    without discovery’ … and cannot ‘fairly be expected to provide a detailed statement of the

    specific bases for her claim’ … She should not be required to meet a pleading standard that

    identifies specific … requirements breached by [defendant] based on information available only

    to [defendant] and the FDA.”).
          This Court should eschew the Drug Company Defendants’ invitation to rewrite nearly one

                                                       5
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 8 of 13




    hundred years of well-settled California law, especially in the context of removal where this

    Court must “construe removal jurisdiction narrowly and resolve any doubts regarding the

    existence of federal jurisdiction in favor of the non-removing party[.]” Pacheco de Perez v. AT

    & T Co., 139 F.3d 1368, 1373 (11th Cir. 1998). As pleaded, the Complaint alleges a possible

    negligence claim against the California Retailers pursuant to California’s pleading standard. As

    such, this Court cannot conclude the California Retailers are fraudulently joined.

          C.    Severing Plaintiff’s Claims Against the Drug Company Defendants from the
                Claims Against the California Retailers Would Be a Mistake
          The Eleventh Circuit is clear: the starting point for this Court is “[a] presumption in favor
    of remand[.]” Univ. of S. Alabama v. Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir. 1999).

    “Because removal jurisdiction raises significant federalism concerns, federal courts are directed

    to construe removal statutes strictly.” Id. (citing Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.

    100, 108–09 (1941)). “Indeed, all doubts about jurisdiction should be resolved in favor of

    remand to state court.” Id. (emphasis added). The Drug Company Defendants ask this Court to

    turn this basic presumption on its head and, for only a few removed cases (as opposed to all

    cases in this MDL), sever the negligence claims against the California Retailers from the Drug

    Company Defendants using Rule 21, not Rules 19 or 20.3 In the opening brief, Plaintiff

    presented the legal, prudential, and commonsense problems with using Rule 21 to fundamentally

    alter a lawsuit over which this Court otherwise lacks jurisdiction. Plaintiff will not belabor those
    points here—the Drug Company Defendants do not raise any counter points that merit response.

          The Drug Company Defendants argue, however, that the California Retailers are

    “successive tortfeasors who were misjoined in a single action[.]” Opp. at 12. This argument is

    disingenuous. Previously, these very Drug Company Defendant attempted to remove those

    lawsuits naming only California Retailers, arguing that “[t]he Removing Defendants are …

    proper parties to this removal petition and” that the Drug Companies were “the real parties in


    3
      The Drug Company Defendants have abandoned their fraudulent misjoinder argument. So, the only “severance”
    request is pursuant to Rule 21. Opp. at 13.

                                                          6
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 9 of 13




    interest” in those cases. Exhibit 1 at ¶ 2.4 Then, in that same removal, the Drug Companies

    argued that the claims against the California Retailers were fraudulently joined. In other words,

    not only did the Drug Company Defendants claim to be properly joined defendants, but they

    insisted on their inclusion in the case to stop the state court from moving forward.5 And then,

    four days ago—the same day the Drug Company Defendants filed their opposition brief claiming

    these claims were misjoined—counsel for the Drug Company Defendants represented, under

    oath, to the California Court overseeing state court coordination, that the Drug Company

    Defendants “will invariably be at the front and center of this litigation” and are “the main

    defendants in this litigation” even though the underlying lawsuits only name the California

    Retailers. Exhibit 2 at ¶ 9. To make such claims in California federal and state court and then,

    here, argue that a case including both California Retailers and the Drug Company Defendants are

    “misjoined” is beyond the pale.

          In truth, the Drug Company Defendants are not misjoined with the claims against the

    California Retailers. There is a legal and factual question about how, and who is responsible for,

    ranitidine causing Plaintiff to be exposed to NDMA. Whether it came from the design of the

    product, the transportation and storage of the product (by either the California Retailers or Drug

    Company Defendants), the way the product converts into NDMA within the human body, or all

    the above, there are overlapping factual and legal issues in Plaintiff’s claims against all
    Defendants. Indeed, this is not a situation involving “successive tortfeasors” like in the medical

    malpractice context, where the negligence of a physician was a separate event involving separate

    breaches duty. Here, liability and causation against the Defendants are intertwined because they

    involve, literally, the same transaction or occurrence, i.e., the Plaintiff’s purchase and ingestion

    of ranitidine containing products created by the Drug Company Defendants and sold by the

    California Retailers. This is why “[i]n products liability cases, a consumer injured by a defective



    4
     All exhibits are attached to the Declaration of R. Brent Wisner filed concurrently with this Reply.
    5
     A federal court in the Northern District of California immediately rejected this removal gambit as “improper” and
    promptly remanded the cases to state court. See Exhibit 3 at 2.

                                                             7
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 10 of 13




    product may sue any business entity … from the original manufacturer down through … the

    retailer; liability of all such defendants is joint and several. … retailers and distributors remain

    free to seek indemnity against the manufacturer of the defective product.” Kaminski, 220 Cal.

    Rptr. at 901 (emphasis added).

          If the Court invokes Rule 21, Plaintiff will be forced to deal with a scenario at separate

    trials where the Drug Company Defendants blame the California Retailers (in federal court) and

    the California Retailers blame the Drug Companies (in state court). Such a scenario is, by

    definition, prejudicial to Plaintiff, and should, by itself, convince this Court not “rewrite

    Plaintiff’s complaint in order to manufacture federal jurisdiction.” Gonzalez v. J.C. Penney

    Corp., No. 05-22254CIV, 2005 WL 5304795, at *3 (S.D. Fla. Nov. 7, 2005).

    II.   The Drug Company Defendants Failed to Prove that a Strict Liability Claim Against
          the California Retailers Is Impossible
          Regarding the affirmative defense of preemption, and whether that defense can, as a matter

    of law, support a finding of fraudulent joinder, the Drug Company Defendants incorporate, by

    reference, their opposition to motion to remand filed by forty-one similar cases also removed

    from California State Court. See Opp. at 14 (citing Doc. 2702 at 11–14). Thus, Plaintiff here

    incorporates by reference the reply to that opposition, located at Doc. 2745 at 8–9.

          Regarding Plaintiff’s manufacturing defect claim, the Drug Company Defendants simply

    state that Plaintiff “does not identify a single case finding that a retailer’s post-manufacture
    storage and transport of a product can give rise to strict liability.” Opp. at 15. But, that is not

    Plaintiff’s burden. To establish fraudulent joinder the Drug Company Defendants must prove,

    with clear and convincing evidence, that Plaintiff’s claim is impossible. And, importantly, the

    Court “must resolve any uncertainties about state substantive law in favor of the plaintiff.”

    Crowe, 113 F.3d at 1538 (emphasis added). Here, the Drug Company Defendants fail to cite any

    case indicating that Plaintiff’s manufacturing claim is impossible under California law. And,

    considering the broad definition given to a manufacturing defect by California courts, the Drug
    Company Defendants cannot meet this burden.

                                                       8
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 11 of 13




          In California, “retailers engaged in the business of distributing goods to the public are

    strictly liable in tort for personal injuries caused by defects in those goods.” Arriaga v.

    CitiCapital Commercial Corp., 85 Cal. Rptr. 3d 143, 149 (Ct. App. 2008) (citing Vandermark v.

    Ford Motor Co., 391 P.2d 168, 171 (Cal. 1964)). “[T]he term defect as utilized in the strict

    liability context is neither self-defining nor susceptible to a single definition applicable in all

    contexts.” Barker v. Lull Eng’g Co., 573 P.2d 443, 453 (Cal. 1978). “A product has a

    manufacturing defect if it ‘differs from the manufacturer’s intended result or from other

    ostensibly identical units of the same product line.’” Johnson v. United States Steel Corp., 192

    Cal. Rptr. 3d 158, 165 (Ct. App. 2015) (quoting Barker, 573 P.2d at 453). Indeed, the California

    Jury Instructions do not limit “manufacturing defect” claims to manufacturers. See Judicial

    Council of California Civil Jury Instruction 1201. “Sellers of all products are responsible for

    defects that exist in the product when it leaves the seller’s control and is placed on the market.

    Thus, the seller of a completed product is strictly liable for any defect in the completed product,

    regardless of the “source” of the defect[.]”). Johnson, 192 Cal. Rptr. 3d at 166 (emphasis

    added). Therefore, while a manufacturing defect typically arises in the context of the

    manufacturing process, the source of the defect is immaterial. All that matters is that there was,

    in fact, a manufacturing defect. And here, the defect is the presence of NDMA in the finished

    product—a “manufacturing defect” because NDMA was never supposed to be part of the
    finished product. Thus, Plaintiff’s manufacturing defect claims against the California Retailers

    are possible.

                                               CONCLUSION
          The Drug Company Defendants have failed to meet their heavy burden of demonstrating,

    by clear and convincing evidence—with all factual and legal uncertainties resolving in Plaintiff’s

    favor—that any of Plaintiff’s claims against the California Retailers are impossible under

    California law. This Court lacks subject matter jurisdiction. Accordingly, Plaintiff respectfully

    requests that the Court enter an order immediately remanding his cases to California Superior
    Court, County of Alameda.

                                                       9
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 12 of 13




    Dated: February 16, 2021           Respectfully submitted,

                                       By:    /s/ R. Brent Wisner
                                              R. Brent Wisner
                                              BAUM, HEDLUND, ARISTEI, &
                                              GOLDMAN, P.C.
                                              10940 Wilshire Blvd., 17th Floor
                                              Los Angeles, CA 90024
                                              Tel: (310) 207-3233
                                              Fax: (310) 820-7444
                                              RBwisner@BaumHedlund.com

                                              Attorneys for Plaintiff Nathan Gibbons




                                         10
Case 9:20-md-02924-RLR Document 2813 Entered on FLSD Docket 02/16/2021 Page 13 of 13




                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 16th day of February, 2021, I filed the foregoing REPLY IN
    SUPPORT OF PLAINTIFF’S MOTION TO REMAND electronically through the CM/ECF
    system, which will send notice of filing to all CM/ECF participants.


    Dated: February 16, 2021             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C.

                                         /s/ R. Brent Wisner
                                         R. Brent Wisner, Esq.
                                         rbwisner@baumhedlundlaw.com
                                         10940 Wilshire Blvd., 17th Floor
                                         Los Angeles, CA 90024
                                         Telephone: (310) 207-3233
                                         Facsimile: (310) 820-7444

                                         Attorneys for Plaintiff Nathan Gibbons




                                                   11
